Case 2:07-Cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 1 of 10 Page|D 16

EXHIBIT 1

Case 2:07-Cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 2 of 10 Page|D 17

 

Case 2:07-Cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 3 of 10 Page|D 18

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How ctict tile tradition ot: tile ctuctzs in

T]\e Pcat)r)cty tountain ]Jc_.__:°in?

f Bact: in tt\e 193{')5 Franiz Sctmtt, Genera]
blanag'cr Ot Tt!c Peat)r)cty, anct a tl'ien£t, Ctlip
Bar'c\"ictz, returned trom a v\'eeizcnr.t hunting
trip to Artzansas. Ttm men t)act a little too
much Tcnnessee gippin' wtiisiaey, and
thought it would t)e tunn_\' to place some ct
their live ctuctc cteco it was legal then tr_>r
tmnters to use five ctecoys) in ttie t)cautitut

Peat)o¢iy totmta in.

T]ll'[££} EI]'|.HH E l CJH C].UCIZS \VL‘l'L’ SCtCCtCC].

as “§ui:lea pig's," anct tile reaction was notti-

in{._" _=t'mrt ut enttlusiastic. Ttnis tie§_"an a

tjeat)octy tradition \\'tiicti was to t)ecome

internationally tamous.

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utter more than Y() _\'ear$, ttie marble tonn-
tain in tile tiotet totat)y i~_= stitt =_‘_~'mr.‘ent with
r_tuctas. T¢_)r,ta_v, tile i\tat]ar:,ts are raised t)y a
local tanner anct trierut ot t]'le twtct. T]\e
ctuctcs live in t]'xe tc)t\xitai:l unfit they are tull
grown anct. on retirement from their

Pe.at)m,ty ctuties, are returned to tile wit{t_

Tile tjeatwr.ty ctuctcs march at 11:()0 am

ami 5:()(} pm ctai]y.

 

Case 2:07-Cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 4 of 10 Page|D 19

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MEMPHIS . ORLANDO .I_ITTLE ROCK

Case 2:07-Cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 5 of 10 Page|D 20

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MrMPHls .0RL,\ND0 .Ll'l'TLE neck
Tiie iegenct that became Peai)oc.ty Hoteis
|- iaegan in 1869 Witil tile tirst Peat)o<ty in
; Mempiiis,Tennessee. lt soon was crow'nect ttie
sociai anct t)usiness twin ot Mempt'iis. As its
reputation '.tor gracious So`uttiern hospitality

anct eiegance grew, Tile Peat)octy became
teno\vn as little Souti'i'S Granct Hotet.”

Witt'c ttle appearance ot Ttie Peaiaocty Ductes
in tire granci tobin tountain in tide 19305,
tile tiotei's worict-wicte tame was seatect. Now
tile most sought-etter t'iote.t in tile region, a

 

stay at Tiie Peai:octy is imperative witi'i tire !
i intiuentiai anct tamous ot ttie worict.

Tiie Betz tamiiy, owners ot Ttie Peat)octy,

were eager to tmiict upon tile reputation ot

quaiity, tiistory, service ami memories ttlat

epitoinize Ttie Peai:\ozty in Mernpi'xis.

By creating sister Peai)octy Hoteis in
Orian¢i.o, Pioricta anct Littie Roctz, Arieansas,
" ti'xe Beiz tamin ties insurect ttiat time tuxury,

: impeecai)ie service ami historic tractitions et
` ttie original tiotet in Mempiiis are carriect on
in true Pea.t)oaiy styie. Tixe -Peai)octy Oriamto
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I‘ signature totain tountains, gracect toy tt\e

 

ever-present matta'r¢.t ctuctzs.

 

 

Case 2:07-Cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 6 of 10 Page|D 21

 

 

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The Peahoiy has heen “the Souti'i's
Gra.nci. Hotei” tor over 130 years.

Tociay, this national historic tami-

mariz ansi epitome ot Southern
hospitality continues to captivate
its guests With unquaiitieri luxury

ansi eiegance.

Originaiiy huiit in 1869, The
Pea.hocty Was rei)uiit at its Present
location in 1925 Ti'ie sociai an¢i
husiness hut) ot Mernphis, it is the
most sought-etter hotel in the

region

464 newiy-renovatect luxury guest
rooms an<i suitesr The Peat)o¢iy
Ciui) Fioor, The Peai:)ociy
Exeeutive Conterenee Center,
awarct~w'inning Chez Phiiippe anci
Capriceio® Griii Itaiian
Steaizhouse=m, Gaiieria ot Shops,
in¢ioor pooi, athletic eiu_t) an<i spa,
36 tunction spaces ami 80,000
square teet ot eiegant haiiroorns
aunt meeting space, teii part ot the
story ot this hotei's tame.

Generations ot guests have mamie
The Peat)ociy part ot their iives.
Memories have heen marie here,
business zieais seaieci, tutures
pianneci... history in the making
every riay.

 

 

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Tl'rcee ot the area's most ceiel:>rateci
restaurants are here: Dux, tile hotels
signature restaurai_rl:r Capriccio® Griil
Italian Stealzhouse.m ansi the B-Line
Diner. Relax ami enjoy an aperii:it or
cocletail in the splen<ior ot the .Atrium
Lol)l)y Ba_r, Mallarci.s lounge or
Capriccio® Grill Bar.

With 891 luxurious guestroorns,
including 51 suites, 5',?,000 sq. t|;. ot
tiexi.i)ie meeting space,.'ihe Peal)ocly
Ciu.t) loeatect on the top three tloors ot
the 211-story l)uilcling, the hotel pro-
vicies high-spee¢i internet connectivity
ami the tull range ot mo¢iern cities
services through the Exeeutive
Business Center. The Peat)oeiy Athietic
Clul), Olympic-style swimming pool,
tour lighteci tennis courts, ami
Captain’s Choice Goii' Services, roun<i
out the recreational opportunities

l't'che Peal)ocly Orlaneio is strategically
iocate¢i amidst the B.O-miition sq.t‘t.
Orange County Convention Center.
The hotel's multi awar¢i-Winning
eatering anci hanquet services are
legenciary in the meetings ami

conventions industry

 

Document 1-1 Filed 10/19/07 Page 7 of 10 Page|D 22

 

Case 2:07-Cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 8 of 10 Page|D 23

 

 

 

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The Pealao¢iy i_.ittle Roclz is a splen-

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conventions hotel.

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ing 22 suitesr Capriccio® Grill italian
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what you would expect trom a hotel ot
The Peahoriy i..it|:le Roclz’s stature.
The Peat>o¢iy Conterence Center is
specially clesigneci to tit small VIP
meeting neecis. 40,000 square test ot

elegant loallrooms anct meeting space
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intimate meeting rooms to The
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Pealaocty Little Rocle is the Statehouse
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mately 220,000 square teet ot pulnlie,
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The tully-appointe¢i Health Clul) is a
part ot The Peal)o¢iy Lit|:le Roci=z's
personal touch ior titness on the roacl.

Each aunt every tunction at The
Peal)ociy Littie Roclz receives tull
Peaioociy Serviee Exeellence® care
anri attention Four-ciiamon<i service,
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Southern hospitality set The Peal)ociy
Little Roelz apart

 

Case 2:07-Cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 9 t)f 10 Page|D 24

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Banquets/Cateri ng

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Case 2:07-cv-02675-BBD-dkv Document 1-1 Filed 10/19/07 Page 10 of 10 Page|D 25

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